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UNITED STATES DISTRICT COURT

CENTRAL DISTRICT OF CALIFORNIA
CIVIL MINUTES - GENERAL

Case No. CV 21-01102-DSF (MRWx) Date November 21, 2022

 

Title Jeffrey B. Sedlik v. Katherine Von Drachenberg, et al.
Present: The Honorable DALE S. FISCHER, United States District Judge

 

 

 

 

Renee Fisher Judy Moore
Deputy Clerk Court Reporter
Attorneys Present for Plaintiffs: Attorneys Present for Defendants:
Matthew Rollin Allen B. Grodsky

Joel B. Rothman

Also present, Jeffrey B. Sedlik
Proceedings: MOTION HEARING (Held and Completed)

EX PARTE APPLICATION of Joel B. Rothman, Jonah A. Grossbardt, and
Matthew L. Rollin - and SRIPLAW, P.A. TO WITHDRAW AS ATTORNEY
[110]

The matter is called and counsel state their appearances.

Court questions counsel as stated in court and on the record on above motion and
invites counsel to present their oral arguments. Arguments by counsel are heard. The
Court grants the motion. Counsel is to file a declaration providing the contact information
for plaintiff.

Plaintiff will have 60 days to obtain new counsel.

The trial date and current deadlines are vacated. The case is stayed pending the
U.S. Supreme Court’s decision in Andy Warhol Foundation v. Goldsmith.

 

 

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